            Case 4:19-cv-03161-YGR Document 502 Filed 01/24/24 Page 1 of 10



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 8
                                        UNITED STATES DISTRICT COURT
 9
                                  NORTHERN DISTRICT OF CALIFORNIA
10

11   IMPINJ, INC.,                                 Case No. 4:19-cv-03161-YGR-VKD

12                         Plaintiff,
                                                   JOINT WITNESS LIST
13          v.

14   NXP USA, INC.,

15                         Defendant.

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     Case No. 4:19-cv-03161-YGR                                  JOINT RETRIAL WITNESS LIST
               Case 4:19-cv-03161-YGR Document 502 Filed 01/24/24 Page 2 of 10



 1             Pursuant to Section 3(c) of the Court’s Standing Order re: Pretrial Instructions in Civil
 2   Cases (updated on December 21, 2023), Pretrial Order No. 1A Re: Re-trial Date, and the parties’
 3   agreement, Plaintiff Impinj, Inc. (“Impinj”) and Defendant NXP USA, Inc. (“NXP”) hereby submit
 4   a list of all witnesses that are likely to be called at trial other than solely for impeachment or
 5   rebuttal.
 6
     A.        Impinj Witness List
 7

 8       Witness 1        Summary of Testimony           Presentation     Direct        Cross
 9                                                                        Estimate      Estimate
10       Christopher      Mr. Diorio will testify Live                    60 minutes
         Diorio*          regarding Impinj’s founding
11                        and business, the nature of the
         400 Fairview     market, the development of
12       Avenue           Impinj’s Monza and M700
         North, Seattle   products, Impinj’s focus on
13
         WA 98109         innovation and patenting, the
14                        competitive        relationship
                          between Impinj and NXP,
15                        NXP’s copying of Impinj’s
                          patented features, Impinj’s
16                        notice to NXP of its
17                        infringement of the patents in
                          suit, and the harm to Impinj
18                        from NXP’s infringement. He
                          might also discuss other
19                        subject matter discussed at his
                          depositions.
20       Ronald           Mr. Oliver will testify Live                    60 minutes
21       Oliver*          regarding the nature and
                          importance of the patented
22       400 Fairview     innovations       and      their
         Avenue           incorporation into Impinj’s
23       North, Seattle   products, including the subject
         WA 98109         matter of the witness’s
24                        deposition testimony in the
25                        Impinj/NXP                patent
                          infringement litigations.
26

27   1
      An * signifies that the witness is viewed as a primary witness. A ^ signifies that the witness is
     only included as a possible witness.
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     Case No. 4:19-cv-03161-YGR                       2                JOINT RETRIAL WITNESS LIST
             Case 4:19-cv-03161-YGR Document 502 Filed 01/24/24 Page 3 of 10



 1
      Harley           Mr. Heinrich will testify          Live          or 15 minutes
 2    Heinrich*        regarding development of           alternatively
                       Impinj’s Monza and M700            by        video
 3
      400 Fairview     products, the conception,          deposition
 4    Avenue           reduction to practice and
      North, Seattle   subject matter of the channel
 5    WA 98109         shape claimed in the ’302
                       patent, including the subject
 6                     matter of the witness’s
                       deposition testimony in the
 7
                       Impinj/NXP                patent
 8                     infringement litigations.
      Jeff Dossett^    Mr. Dosset may testify             Live (post-trial 30 minutes
 9                     regarding the sales and            hearing only)
      400 Fairview     profitability    of    Impinj’s
10    Avenue           Monza and M700 products, as
11    North, Seattle   well as the and the harm to
      WA 98109         Impinj        from      NXP’s
12                     infringement, including the
                       subject matter of the witness’s
13                     deposition testimony in the
                       Impinj/NXP                patent
14                     infringement litigations.
15    Franz            Mr. Amtmann will testify           Live          or 15 minutes
      Amtmann*         regarding the development,         alternatively
16                     functionality, and operation of    by        video
      Mikron-Weg       NXP’s Accused Products, the        deposition
17    1,       8101    relationship between NXP and
      Gratkorn,        Impinj, NXP’s awareness of
18
      Austria          the Asserted Patents, and
19                     NXP’s       monitoring      and
                       analysis of Impinj’s products
20                     and patents.
      Kurt Bischof^    Mr. Bischof may testify            By       video 10 minutes
21                     regarding the development of       deposition
      Mikron-Weg       NXP’s Accused Products
22
      1,       8101    including the adoption of the
23    Gratkorn,        accused features, and the
      Austria          subject of his deposition
24                     testimony. .
      Roland           Mr. Brandl may testify             By       video 15 minutes
25    Brandl^          regarding the development,         deposition
26                     functionality and operation of
      Mikron-Weg       NXP’s Accused Products and
27    1,       8101    NXP’s       monitoring      and
      Gratkorn,        analysis of Impinj’s products.
28
     Case No. 4:19-cv-03161-YGR                       3                 JOINT RETRIAL WITNESS LIST
             Case 4:19-cv-03161-YGR Document 502 Filed 01/24/24 Page 4 of 10



 1
      Austria
 2    Ralf           Mr. Kodritsch will testify         Live or by 25 minutes
      Kodritsch*     regarding NXP’s RAIN RFID          video
 3
                     business, NXP’s analysis of        deposition
 4    Mikron-Weg     Impinj’s products, NXP’s
      1,        8101 adoption of the accused
 5    Gratkorn,      features, the competitive
      Austria        relationship between Impinj
 6                   and NXP, the marketing of
                     NXP’s Accused Products, the
 7
                     manufacturing, distribution,
 8                   importation, use of NXP’s
                     Accused Products and the
 9                   subject    matter      of    his
                     deposition testimony.
10    Nigel Stott^   Mr. Stott may testify regarding    By       video 5 minutes
11                   the marketing and sales of         deposition
      600 Unicorn NXP’s Accused Products.
12    Park       Dr.
      Woburn, MA
13    01801
      Hermann        Mr. Zach will testify regarding    By       video 20 minutes
14
      Zach*          the development, functionality     deposition
15                   and operation of NXP’s
      Mikron-Weg     Accused       Products,      the
16    1,        8101 adoption of the accused
      Gratkorn,      features, the competition
17    Austria        between Impinj and NXP,
                     NXP’s       monitoring      and
18
                     analysis of Impinj’s products,
19                   and the subject matter of the
                     witness’s deposition testimony
20                   in the Impinj/NXP patent
                     infringement litigations.
21    Christian      Mr. Zenz will testify regarding    By       video 20 minutes
      Zenz*          the development, functionality     deposition
22
                     and operation of NXP’s
23    Mikron-Weg     Accused Products, NXP’s
      1,        8101 awareness of the Asserted
24    Gratkorn,      Patents, NXP’s analysis of
      Austria        Impinj’s products, and the
25                   subject matter of the witness’s
26                   deposition testimony in the
                     Impinj/NXP                patent
27                   infringement litigations.
      Srinath        Mr. Rajen may testify              By      video 10 minutes
28
     Case No. 4:19-cv-03161-YGR                     4                JOINT RETRIAL WITNESS LIST
             Case 4:19-cv-03161-YGR Document 502 Filed 01/24/24 Page 5 of 10



 1
      Rajen^           regarding NXP’s corporate deposition
 2                     structure, NXP’s revenue
      6501       W     model,      product  pricing,
 3
      William          revenue allocation across
 4    Cannon Dr.,      affiliated NXP companies, and
      Austin, Texas    other financial information
 5    78735            associated with the Accused
                       Products.
 6    Derrick          Mr. Davies may testify By            video 5 minutes
      Davies^          regarding the marketing and deposition
 7
                       sales of NXP’s Accused
 8    81 Christian     Products.
      Way, North
 9    Andover,
      Massachusetts
10    01845
11    Scott          Dr. Thompson will testify Live                         60 minutes
      Thompson,      about the background of the
12    Ph.D.*         technology and the art
                     concerning the ’302 patent,
13    535       New validity of the ’302 patent,
      Engineering    matters discussed in his expert
14
      Building, P.O. reports and deposition, and in
15    Box 116130, response       to    Defendant’s
      Gainesville,   experts
16    Florida 32611

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     B.     NXP Witness List
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19          It is NXP’s position that this trial presents a narrow issue that could be efficiently presented

20   to the jury based solely on expert testimony. However, should Impinj be permitted to present

21   evidence beyond expert testimony, NXP may need to call such witnesses to provide appropriate

22   context or rebuttal. To that end, NXP identifies below the following witnesses that may be called

23   during the jury trial either live or by video deposition. NXP also identifies witnesses that it will

24   call live (or by deposition) and that it may call live (or by deposition) at the evidentiary hearing.

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     Case No. 4:19-cv-03161-YGR                         5                  JOINT RETRIAL WITNESS LIST
               Case 4:19-cv-03161-YGR Document 502 Filed 01/24/24 Page 6 of 10



 1
         Name 2          Subject of Testimony              Presentation      Estimate     Estimate for
 2                                                                           for Direct   Cross-Exam.
                                                                             Exam.
 3
         Kurt Bischof^† Marketing, advertising, and        Video             10
 4                      development of the accused                           minutes
                        products; NXP’s product
 5                      development, business
                        development, and
 6                      competitive strategies;
                        matters discussed in his
 7
                        deposition
 8       Paul Davies^† Marketing, advertising, and         Video or Live     10
                        development of the accused                           minutes
 9                      products; business
                        development and customer
10                      relationships; matters
11                      discussed in his deposition
         Christopher    Design, development,               Video or Live     30
12       Diorio^†       function, and marketing of                           minutes
                        Impinj’s competing products;
13                      general company
                        background; matters
14
                        discussed in his deposition
15                      including Impinj’s business
                        and competitive strategies
16                      and customer accounts;
                        matters discussed in his
17                      deposition
         Jeffrey        Marketing, product flow and        Video or Live     15
18
         Dossett^†      advertising of Impinj’s                              minutes
19                      competing products;
                        financial information;
20                      general company
                        background; matters
21                      discussed in his deposition
                        including Impinj’s business
22

23   2
       ^ indicates a witness that NXP may call live or by deposition during the jury trial. It is NXP’s
     position that this trial presents a narrow issue that could be efficiently presented to the jury based
24
     solely on expert testimony. However, should Impinj be permitted to present evidence beyond
25   expert testimony, NXP may need to call such witnesses to provide appropriate context or
     rebuttal.
26   × indicates a witness that NXP will call live or by deposition during the evidentiary hearing
     ordered by the court.
27   † indicates a witness that NXP may call live or by deposition during the evidentiary hearing
     ordered by the court.
28
     Case No. 4:19-cv-03161-YGR                        6                   JOINT RETRIAL WITNESS LIST
             Case 4:19-cv-03161-YGR Document 502 Filed 01/24/24 Page 7 of 10



 1
      Name 2            Subject of Testimony             Presentation     Estimate     Estimate for
 2                                                                        for Direct   Cross-Exam.
                                                                          Exam.
 3
                        and competitive strategies
 4                      and customer accounts;
                        matters discussed in his
 5                      deposition
      Harley            Conception and reduction to      Video or Live    15
 6    Heinrich^†        practice of inventions                            minutes
 7                      claimed in the ’302 patent;
                        background of technology
 8                      relevant to ’302 patent;
                        implementation of inventions
 9                      of the ’302 patent in Impinj’s
                        products; matters discussed
10                      in his deposition
11    Ray Henling       NXP’s financial information;     Live or Video    15
      ^†                matters discussed in his                          minutes
12                      deposition
      Ralf Kodritsch    Marketing, product flow and      Live or Video    90
13    ^×                advertising of the accused                        minutes
                        products; financial
14
                        information; general
15                      company background; any
                        efforts to redesign NXP’s
16                      accused products; matters
                        discussed in his deposition
17    Ronald Oliver     Relationship between the         Video or Live    30
      ^†                parties; marketing, product                       minutes
18
                        flow and advertising of
19                      Impinj’s competing products;
                        general company
20                      background; Impinj’s
                        business and competitive
21                      strategies and customer
22                      accounts; litigation between
                        Impinj and NXP; matters
23                      discussed in his deposition
      Nigel Stott ^†    Marketing, advertising, and      Video or Live    15
24                      development of the accused                        minutes
                        products; business
25                      development and customer
26                      relationships; matters
                        discussed in his deposition
27    Hermann Zach      Marketing, advertising, and      Video or Live    30
      ^†                development of the accused                        minutes
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     Case No. 4:19-cv-03161-YGR                      7                   JOINT RETRIAL WITNESS LIST
             Case 4:19-cv-03161-YGR Document 502 Filed 01/24/24 Page 8 of 10



 1
      Name 2            Subject of Testimony               Presentation    Estimate     Estimate for
 2                                                                         for Direct   Cross-Exam.
                                                                           Exam.
 3
                        products; nature of the
 4                      marketplace; NXP’s product
                        development, business, and
 5                      competitive strategies;
                        matters discussed in his
 6                      deposition
 7    Christian Zenz    Design, manufacture,               Live            90
      ^×                fabrication, assembly, and                         minutes
 8                      function of aspects of the
                        accused products; history of
 9                      development of NXP
                        products; technical aspects
10                      concerning alternative
11                      designs to accused products;
                        any efforts to redesign
12                      NXP’s accused products;
                        matters discussed in his
13                      deposition
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     Case No. 4:19-cv-03161-YGR                        8                  JOINT RETRIAL WITNESS LIST
             Case 4:19-cv-03161-YGR Document 502 Filed 01/24/24 Page 9 of 10



 1   DATED: January 24, 2024

 2
     By:/s/ Lisa L. Furby                         By: /s/ Ramsey M. Al-Salam
 3       Lisa L. Furby                               Ramsey M. Al-Salam, Bar No. 109506
 4       Tharan Gregory Lanier                       Christina J. McCullough, Bar No. 245944
         (California State Bar No. 138784)           Antoine M. McNamara, Bar No. 261980
 5       tglanier@jonesday.com                       R. Tyler Kendrick (admitted pro hac vice)
         Michael C. Hendershot                       Jessica J. Delacenserie (admitted pro hac vice)
 6       (California State Bar No. 211830)           PERKINS COIE LLP
         mhendershot@jonesday.com                    1201 Third Avenue, 49th Floor
 7       Gurneet Singh
         (California State Bar No. 333711)           Seattle, WA 98101
 8       gsingh@jonesday.com                         Tel: 206.359.8000
         JONES DAY                                   Fax: 206.359.9000
 9       1755 Embarcadero Road                       RAlSalam@perkinscoie.com
         Palo Alto, CA 94303                         CMcCullough@perkinscoie.com
10       Telephone: (650) 739-3939                   AMcNamara@perkinscoie.com
         Facsimile: (650) 739-3900                   RKendrick@perkinscoie.com
11
         Thomas W. Ritchie (admitted pro hac         JDelacenserie@perkinscoie.com
12       vice)
         (Illinois State Bar No. 6301954)              Daniel T. Shvodian, Bar No. 184576
13       twritchie @jonesday.com                       PERKINS COIE LLP
         Lisa L. Furby (admitted pro hac vice)         3150 Porter Drive
14       (Illinois State Bar No. 6312855)              Palo Alto, CA 94304
         lfurby@jonesday.com                           Tel: 650.838.4300
15       John M. Michalik (admitted pro hac
         vice)                                         Fax: 650.737.5461
16       (Illinois State Bar No. 6280622)              DShvodian@perkinscoie.com
         jmichalik@jonesday.com
17       Timothy J. Heverin (admitted pro hac          Daniel T. Keese, Bar No. 280683
         vice)                                         PERKINS COIE LLP
18       (Illinois State Bar No. 6243107)              1120 N.W. Couch Street, 10th Floor
         tjheverin@jonesday.com
19       JONES DAY                                     Portland, OR 97209-4128
         110 North Wacker Drive, Suite 4800            Tel: 503.727.2000
20       Chicago, IL 60606                             Fax: 503.727.2222
         Telephone: (312) 782-3939                     DKeese@perkinscoie.com
21       Facsimile: (312) 782-8585
                                                       Attorneys for Plaintiff Impinj, Inc.
22       Yury Kalish (admitted pro hac vice)
         (D.C. State Bar No. 1020172)
23       ykalish@jonesday.com
         Tracy A. Stitt (admitted pro hac vice)
24       (D.C. State Bar No. 1015680)
         tastitt@jonesday.com
25       Robert Levent Herguner (admitted pro
         hac vice)
26       (New York State Bar No. 5722228)
         rlherguner@jonesday.com
27       JONES DAY
         51 Louisiana Ave., N.W.
28
     Case No. 4:19-cv-03161-YGR                    9                   JOINT RETRIAL WITNESS LIST
            Case 4:19-cv-03161-YGR Document 502 Filed 01/24/24 Page 10 of 10



 1
         Washington, D.C. 20001
 2       Telephone: (202) 879-3939
         Facsimile: (202) 626-1700
 3
         T. Kaitlin Crowder (admitted pro hac
 4       vice)
         (Ohio State Bar No. 0095796)
 5       Robert M. Breetz (admitted pro hac
         vice)
 6       (Ohio State Bar No. 0098968)
         kcrowder@jonesday.com
 7       JONES DAY
         901 Lakeside Ave. E.
 8       Cleveland, OH 44114
         Telephone: (216) 586-7347
 9       Facsimile: (216) 579-0212

10       Matthew J. Silveira
         (California State Bar No. 264250)
11       JONES DAY
         555 California Street, 26th Floor
12       San Francisco, CA 94104
         Telephone: (415) 626-3939
13       Facsimile: (415) 875-5700
         msilveira@jonesday.com
14
     Attorneys for Defendant NXP USA, INC.
15

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     Case No. 4:19-cv-03161-YGR                 10       JOINT RETRIAL WITNESS LIST
